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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   In Re: COOK MEDICAL, INC., IVC FILTERS                Case No. 1:14-ml-2570-RLY-TAB
   MARKETING, SALES PRACTICES AND                        MDL No. 2570
   PRODUCTS LIABILITY LITIGATION


   This Document Relates to All Actions


                FIFTH AMENDED CASE MANAGEMENT ORDER NO. 4
       (PARTY PROFILE, FACT SHEET AND CASE CATEGORIZATION PROTOCOL)

         This Order shall govern (1) all cases transferred to this Court by the Judicial Panel on

  Multidistrict Litigation, including those cases identified in the original Transfer Order and those

  subsequently transferred as tag-along actions; and (2) all cases directly filed in or removed to this

  MDL. It is ORDERED as follows:

  1.     Plaintiff Profile Sheets

         a.      The parties have agreed upon the use of a Plaintiff Profile Sheet (“PPS”) (Exhibit

  1), including eight (8) releases, attached to this Order. The PPS shall be completed in each case

  currently pending, and in all cases that become part of this MDL by virtue of being filed in,

  removed to, or transferred to this Court.

         b.      Each Plaintiff in this MDL as of the date of the entry of the Second Amended Case

  Management Order No. 4 (December 16, 2016), shall submit a completed PPS to Defendants

  within sixty (60) days if the Plaintiff has not already provided a complete Plaintiff Profile Form

  (“PPF”) and Plaintiff Fact Sheet (“PFS”) under Case Management Order No. 4 [Dkt. 354] or

  Amended Case Management No. 4 [Dkt. 614]. In cases in which Plaintiffs have not served a

  completed PPF or PFS, each Plaintiff shall submit a completed PPS to Defendants within sixty

  (60) days of the entry (December 16, 2016) of the Second Amended Case Management Order No.
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  4 and, in future filed cases, within thirty (30) days of the case becoming part of this MDL.

  Every Plaintiff is required to provide Defendants with a PPS that is substantially complete in all

  respects, answering every question in the PPS, even if a Plaintiff can answer the question in good

  faith only by indicating “not applicable.” The PPS shall be signed by Plaintiff under penalty of

  perjury. If a Plaintiff brings suit as representative or derivative capacity, the PPS shall be

  completed by the person with the legal authority to represent the estate or person under legal

  disability. Consortium Plaintiffs shall also sign the PPS, attesting that the responses made to the

  loss of consortium claim questions in the PPS are true and correct to the best of his or her

  knowledge, information and belief, formed after due diligence and reasonable inquiry.

         c.      A completed PPS shall be considered interrogatory answers under Fed. R. Civ. P.

  33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

  standards applicable to written discovery under Federal Rules 26 through 37. The interrogatories

  and requests for production in the PPS shall be answered without objection as to the question posed

  in the agreed upon PPS. This section does not prohibit a Plaintiff from withholding or redacting

  information from medical or other records provided with the PPS based upon a recognized

  privilege. If information is withheld or redacted on the basis of privilege, Plaintiff shall provide

  Defendants with a privilege log that complies with CMO No. 10.

         d.      Contemporaneous with the submission of a PPS, each Plaintiff shall provide the

  Defendants with hard copies or electronic files of all medical records in their possession or in the

  possession of their attorneys or other representatives, including, but not limited to, the records that

  support product identification and the alleged injury.

         e.      Contemporaneous with the submission of a PPS, each Plaintiff shall also produce

  signed authorizations, which allow counsel for Defendants to obtain medical, insurance,




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  employment, Medicare/Medicaid, and Social Security records from any healthcare provider,

  hospital, clinic, outpatient treatment center, and/or any other entity, institution, agency or other

  custodian of records identified in the PPS. The signed authorizations shall be undated and the

  recipient line shall be left blank. These blank, signed authorizations constitute permission for

  counsel for the Defendants to obtain the records specified in the authorizations from the records

  custodians. In the event an institution, agency or medical provider to which a signed authorization

  is presented refuses to provide responsive records, Plaintiffs’ counsel shall resolve the issue with

  the institution, agency, or provider, such that the necessary records are promptly provided. Counsel

  for Defendants shall, within twenty (20) days of receipt of any such set of records, provide Plaintiff

  with hard copies or electronic files of all records received and shall invoice Plaintiff for the

  reasonable costs of reproducing hard copies of documents. The invoice shall be paid by Plaintiffs

  within thirty (30) days. If a Plaintiff does not respond to Question VIII.9. of the PPS (which would

  indicate Plaintiff is not pursuing a claim for emotional distress), then Defendants shall not order

  records of psychiatric or psychological treatment, mental health counseling, or other such records

  unless and until a case is moved into the discovery pool.

         f.       Each Plaintiff shall immediately preserve and maintain, without deletions or

  alterations, any content of any personal webpage(s) or social media accounts currently held by

  them, including but not limited to, photographs, text, links, messages and other postings or profile

  information that is relevant to the subject matter of this litigation. “Social media” includes, but it

  not limited to, Facebook, Myspace, LinkedIn, Friendster, and/or blogs. The Plaintiffs shall

  preserve this data by downloading it to a suitable storage device, by printing out copies on paper,

  or by other means consistent with law and court rules applicable to document and data

  preservation.




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         g.      If Defendants receive a PPS in the allotted time but the PPS is not substantially

  complete, Defendants’ counsel shall send deficiency correspondence by e-mail and/or U.S. Mail

  to Plaintiffs’ Lead Counsel and the Plaintiffs’ individual representative counsel, identifying the

  purported deficiencies. Plaintiff shall have twenty (20) days from receipt to serve a PPS that is

  substantially complete in all respects. Defendants’ correspondence shall include sufficient detail

  for the parties to meet and confer regarding the alleged deficiencies. Should a Plaintiff fail to cure

  the deficiencies identified and fail to provide responses that are substantially complete within

  twenty (20) days of service of the deficiency correspondence, Defendants may move for

  appropriate relief under Fed. R. Civ. P. 37. Any such filing shall be served on co-lead counsel for

  the Plaintiffs, with any response to such filing to be submitted within ten (10) business days

  following the date of service. Any such filing should include the efforts the Defendants made to

  meet and confer regarding the alleged deficiencies in the PPS and failure to cure.

         h.      Any Plaintiff who fails to comply with the PPS obligations under this Order may,

  for good cause shown, be subject to sanctions, to be determined by the Court, upon motion of the

  Defendants.

         i.      The PPS shall constitute the initial case-specific discovery response of Plaintiff and

  the Defendants shall not serve on any Plaintiff any further case-specific discovery unless the case

  is chosen as a discovery pool case except by leave of court.

  2.     Case Categorization Forms

         Pursuant to the Court’s Order on the Cook Defendants’ Motion for Screening Order and

  Bellwether Plan (Filing No. 9322) and the Court’s Order Regarding Case Categorization and

  Census (Filing No. 9638) (collectively with this Order, the “Court’s Categorization Orders”) the

  Court ordered Plaintiffs to categorize their cases in Categories Nos. 1-7 and submit specific

  medical records supporting categorization. Pursuant to the Court’s Revised Second Amended


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  Order Regarding Case Categorization Forms (Filing No. 10617): “All Plaintiffs in newly-filed

  actions in this MDL (filed as of May 3, 2019, or later), whether by direct filing of the Complaint

  in this MDL or by transfer into this MDL, must categorize their cases using the form provided

  in Filing No. 9638-1, supported by specific medical documentation, and submit the same to

  the Cook Defendants and Plaintiffs’ Leadership, within 30 days of the filing of the Complaint

  or of the transfer date to this MDL, whichever is applicable.” A copy of the Case Categorization

  Form (“CCF”) is attached hereto as Exhibit 2.

  3.     Evidentiary Submission in Support of Amount-in-Controversy Requirement for
         Subject-Matter Jurisdiction

         The Court entered Case Management Order No. 32 to address potential jurisdictional

  defects in cases filed in or transferred to this MDL consistent with the Seventh Circuit Court’s

  ruling in Sykes v. Cook Inc., 72 F.4th App 195 (7th Cir. 2023). Pursuant to Case Management

  Order No. 32, Plaintiffs are required to certify the amount-in-controversy requirement is met. See

  28 U.S.C. § 1332. Thus, Plaintiffs who commence actions after the entry of Case Management

  Order No. 32 must provide the amount-in-controversy certification form attached as Exhibit 3

  within 30 days of commencement of their actions or of the transfer date to this MDL, whichever

  is applicable, along with the PPS and CCF materials required under this Order. Plaintiffs who

  cannot make this evidentiary submission within 30 days must dismiss their cases without prejudice

  for lack of subject-matter jurisdiction.

  4.     Failure to Serve a PPS, CCF or Amount in Controversy Certification

         If a Plaintiff does not submit a PPS or CCF within the time specified in this Order and the

  Case Management Plan entered by the Court, Defendants may file a Notice of Non-Compliance

  as to the Plaintiff or Plaintiffs that did not comply. Before filing such a Notice, counsel for the

  Defendants shall serve written notice upon Plaintiffs’ Lead Counsel and counsel for the Plaintiff



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  at issue that a PPS or CCF has not been served and a Notice of Non-Compliance may be filed. If

  a PPS or CCF is not submitted within five (5) business days of receiving such written notice,

  Defendants may file the Notice of Non-Compliance. To resolve the deficiency after Defendants

  file a Notice of Non-Compliance, Plaintiff must submit the PPS or CCF to Defendants at

  CookFilterMDL@FaegreDrinker.com. Plaintiffs should not file a response to Defendants’ Notice

  of Non-Compliance. If Plaintiff does not resolve the deficiency within fourteen (14) days of the

  date the Notice of Non-Compliance is filed, Defendants may notify the Court and Plaintiffs will

  be dismissed by the Court pursuant to Federal Rule of Civil Procedure 41 for failure to prosecute

  and for failure to comply with this Court’s Order.

         The noncompliance process outlined above, however, does not apply for failures to submit

  the amount-in-controversy certification form discussed in section 3 above. Failure to make that

  submission will result in dismissal without prejudice immediately upon receiving notice by the

  Cook Defendants of non-compliance.

  5.     Defendant Profile Forms

         a.      The Court previously has approved the use of the Defendant Profile Form (“DPF”)

  (Exhibit 4) attached to this Order.

         b.      For each Plaintiff in a currently filed (non-Bellwether) case that is part of the MDL

  as of the December 16, 2016 entry of Second Amended Case Management Order No. 4, the

  Defendants shall comply with the following schedule:

                 1)      The Defendants shall have sixty (60) days from the date of entry of Second

         Amended Case Management Order No. 4 (“date of entry”) to serve a DPF in the one

         hundred (100) oldest non-Bellwether cases pending in the MDL to serve a DPF;

                 2)      One hundred five (105) days from the date of entry to serve a DPF in the

         next one hundred (100) oldest cases;


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                 3)     One hundred fifty (150) days from the date of entry to serve a DPF in the

         next one hundred fifty (150) oldest cases;

                 4)     One hundred eighty (180) days from the date of entry to serve a DPF in the

         next one hundred fifty (150) oldest cases;

                 5)     Two hundred ten (210) days from the date of entry to serve a DPF in the

         next one hundred fifty (150) oldest cases;

                 6)     Two hundred forty (240) days from the date of entry to serve a DPF in the

         next one hundred fifty (150) oldest cases;

                 7)     Two hundred seventy (270) days from the date of entry to serve a DPF in

         the next two hundred (200) oldest cases;

                 8)     Three hundred (300) days from the date of entry to serve a DPF in the

         remaining cases pending at the time of entry; and

                 9)     Once the time for serving DPFs for all cases pending as of the date of entry

         of Second Amended Case Management Order No. 4 has passed, the Defendants shall have

         one hundred twenty (120) days from that point or forty-five (45) days from the service of

         the PPS in each subsequently filed case, whichever is later, to serve their DPF.

         c.      Defendants are required to provide Plaintiffs with a DPF that is substantially

  complete in all respects, answering every question in the DPF, even if Defendant can answer the

  question in good faith only by indicating “not applicable”. The DPF shall be signed by Defendants

  under penalty of perjury. The DPF shall constitute the initial case-specific discovery response of

  the Defendants and no Plaintiff shall serve upon any Defendant discovery that is case-specific

  unless the case is chosen as a discovery pool case except by leave of court.




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          d.      A completed DPF shall be considered interrogatory answers under Fed. R. Civ. P.

  33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

  standards applicable to written discovery under Federal Rules 26-37. The interrogatories and

  requests for production in the DPF shall be answered without objection as to the question posed in

  the agreed upon DPF. This section does not prohibit a Defendant from withholding or redacting

  information provided with the DPF if based upon a recognized privilege. If information is withheld

  or redacted on the basis of privilege, Defendants shall provide Plaintiff with a privilege log that

  complies with CMO 10.

          e.      If a Defendant fails to timely submit a DPF, or submits within the allotted time a

  DPF that is not substantially complete, the Plaintiffs’ lead counsel shall send a deficiency notice

  by e-mail and/or U.S. Mail to counsel for the Defendants, identifying the purported deficiencies.

  This correspondence shall include sufficient detail for the parties to meet and confer regarding the

  alleged deficiencies. Defendants shall have thirty (30) days from receipt of that correspondence to

  serve a DPF that is substantially complete in all respects. Should Defendants fail to cure the

  deficiencies identified and fail to provide responses that are substantially complete within thirty

  (30) days of service of the deficiency correspondence, Plaintiff may move for appropriate relief

  under Fed. R. Civ. P. 37. Any such filing shall be served on co-lead counsel for the Defendants,

  with any response to such filing to be submitted within ten (10) business days following the date

  of service. Any such filing should include the efforts the Plaintiff made to meet and confer

  regarding the alleged deficiencies in the DPF and failure to cure.

     5.        Defendant Fact Sheets

          a.      The parties have agreed upon the use of a Defendant Fact Sheet (“DFS”) (Exhibit

  5), attached to this Order. The DFS shall be completed only in matters that are currently set




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  as part of a Discovery Pool, selected for Bellwether trial, or as directed by separate Order of

  the Court. Defendants are required to provide Plaintiffs with a DFS that is substantially complete

  in all respects, answering every question in the DFS, even if a Defendant can answer the question

  in good faith only by indicating “not applicable.” The DFS shall be signed by Defendants under

  penalty of perjury.

          c.     A completed DFS shall be considered interrogatory answers under Fed. R. Civ. P.

  33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

  standards applicable to written discovery under Federal Rules 26 through 37. Defendants may

  object to specific requests on proportionality grounds, but these objections must include specific

  information similar to a privilege log.

  6.      Failure to Serve a DFS

          a.     In Discovery Pool or Bellwether cases set for trials, Plaintiffs may serve a notice of

  deficiency as outlined above and the parties shall meet and confer within five (5) business days of

  service of the deficiency letter. Plaintiffs may move for any appropriate relief under Federal Rule

  of Civil Procedure 37 but not sooner than ten (10) business days after the meet and confer. Any

  such filing shall be served on Co-Lead Counsel for the subject Defendants, with any response to

  such filing to be submitted within seven (7) business days following the date of service.

          b.     Any Defendant who fails to comply with the DFS obligations under this Order may,

  for good cause shown, be subject to sanctions, to be determined by the Court, upon motion of the

  Plaintiffs.



  SO ORDERED: ______________                    __________________

                                                Tim A. Baker
                                                United States Magistrate Judge
                                                Southern District of Indiana


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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA

                                   MDL No. 2570
   IN RE: COOK MEDICAL, INC., IVC FILTERS MARKETING, SALES PRACTICES AND
                         PRODUCT LIABILITY LITIGATION
  ______________________________________________________________________________

  In completing this Plaintiff Profile Sheet, you are under oath and must provide information that
  is true and correct to the best of your knowledge. The Plaintiff Profile Form shall be completed
  in accordance with the requirements and guidelines set forth in the applicable Case Management
  Order.

                                    I. CASE INFORMATION

  Caption: _______________________________________ Date: ________________________
  Docket No.: ___________________________________________________________________
  Plaintiff(s) attorney and Contact information:
  ______________________________________________________
  ______________________________________________________
  ______________________________________________________
  ______________________________________________________


                                II. PLAINTIFF INFORMATION

     1. Please State:
        a. Full name of the person who received the Cook Inferior Vena Cava Filter(s),
            including maiden name (if applicable):_____________________________________
        b. If you are completing this form in a representative capacity (e.g., on behalf of the
            estate of a deceased person), please list your full name and your relationship to the
            person listed in 1(a) above:_______________________________________________
            [If you are completing this form in a representative capacity, please respond to the
            remaining questions with respect to the person who received the Cook IVC Filter.]
     2. Spouse: ___________________________________ Loss of Consortium? ☐Yes ☐No
     3. Date of birth:____________________________________________________________
     4. Date of death (if applicable):________________________________________________
     5. Social Security No.:_______________________________________________________
     6. Current Address: ________________________________________________________
        a. If you have lived at this address for less than ten (10) years, provide each of your
            prior residential addresses from 2006 to the present:

                          Prior Address                        Dates You Lived at this Address




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     7. If you have ever been married, provide (a) the name of your current spouse and the date
        you were married and (b) the name of your ex-spouse(s) and the date of each marriage.



        ________________________________________________________________________

        ________________________________________________________________________

     8. Do you have children? ☐Yes ☐No

        If yes, please provide the following information with respect to each child:

            Name and Address of Child                 DOB       Is the Child Dependent on You?




     9. Other than children identified above, identify the name and age of any person who
        currently resides with you and their relationship to you:




     10. Please state your highest level of education: some high school, high school graduate,
         some college, college graduate, or post-graduate degree and identify the institution at
         which you attained your highest level of education.



     11. Are you claiming damages for lost wages: ☐Yes ☐No

     12. If so, for what time period: ________________________

     13. Please provide the following employment information for the period beginning two years
         before your IVC filter implant or the past 10 years, whichever is shorter:

          Employer             Job Title/Duties         Dates of Employment        Salary/Pay Rate




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          a.     Have you filed for bankruptcy from 2 years prior to the date of first placement of
                 the Inferior Vena Cava Filter to the present?: ☐Yes ☐No

          b.     If so, state the year you filed and whether the bankruptcy trustee been notified of
                 your pending claim.
                 __________________________________________________________________

     14. Have you ever served in any branch of the military? ☐Yes ☐No

          a.     If yes, please provide the branch and dates of service, rank upon discharge and the
                 type of discharge you received:



     15. Within the last ten (10) years, have you been convicted of, or plead guilty to, a felony
         and/or crime of fraud or dishonesty? ☐Yes ☐No

          If yes, please set forth where, when and the felony and/or crime of fraud and/or
          dishonesty:




     16. Do you have a computer? ☐Yes ☐No

     17. If so, do you now or have you in the past had an account with Facebook, Twitter,
         Instagram, Vine, Snapchat, YouTube, LinkedIn or other social media websites?
         ☐Yes ☐No ☐Not Applicable

                                  III. DEVICE INFORMATION

     1. Date of Implant: ____________________
     2. Reason for Implant: ______________________________________________________
     3. Brand Name: ______________________
     4. Mfr. _____________________________
     5. Lot Number: ______________________
     6. Placement Physician (Name/Address):________________________________________
     7. Medical Facility (Name/Address): ___________________________________________
  _____________________________________________________________________________
  (This section to be used if more than one filter is at issue)

     1.   Date of Implant: ____________________
     2.   Reason for Implant: ______________________________________________________
     3.   Brand Name: ______________________
     4.   Mfr. _____________________________
     5.   Lot Number: ______________________
     6.   Placement Physician (Name/Address):________________________________________
     7.   Medical Facility (Name/Address): ___________________________________________



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  _____________________________________________________________________________
  Have you ever been implanted with any other vena cava filters or related product(s) besides the
  Cook Inferior Vena Cava Filter(s) for the treatment of the same condition(s) identified in your
  answer above?

          a. If yes, please identify any such device(s) or product(s). ________________________
          b. When was this device or product implanted in you? __________________________
          c. Provide the name, address and phone number of the physician(s) who implanted this
             other device or product? ________________________________________________
          d. Provide the name and address of facilities where the other device or product
             implanted in you? _____________________________________________________
          e. State your understanding of why was the other device or product implanted in you?
             _____________________________________________________________________

                        • Attach medical evidence of product identification

          IV. RETRIEVAL/REMOVAL/EXPLANT PROCEDURE INFORMATION

     1.   Date of retrieval (including any attempts):______________________
     2.   Type of retrieval: _________________________________________
     3.   Retrieval physician (Name/Address): _________________________________________
     4.   Medical Facility (Name/Address): ___________________________________________
     5.   Reason for Retrieval: _____________________________________________________

  _____________________________________________________________________________
  (This section to be used if more than one retrieval attempted)

     1.   Date of retrieval (including any attempts):______________________
     2.   Type of retrieval: _________________________________________
     3.   Retrieval physician (Name/Address): _________________________________________
     4.   Medical Facility (Name/Address): ___________________________________________
     5.   Reason for Retrieval:______________________________________________________


     1.   Date of retrieval (including any attempts):______________________
     2.   Type of retrieval: _________________________________________
     3.   Retrieval physician (Name/Address): _________________________________________
     4.   Medical Facility (Name/Address): ___________________________________________
     5.   Reason for Retrieval:______________________________________________________


     1.   Date of retrieval (including any attempts):______________________
     2.   Type of retrieval: _________________________________________
     3.   Retrieval physician (Name/Address): _________________________________________
     4.   Medical Facility (Name/Address): ___________________________________________
     5.   Reason for Retrieval:______________________________________________________




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                           V. OUTCOME ATTRIBUTED TO DEVICE


   ☐ Migration                               ☐ Other____________________________________

   ☐ Tilt                                    ☐ Other____________________________________

   ☐ Vena Cava Perforation                   ☐ Other____________________________________

   ☐ Fracture                                ☐ Other____________________________________

   ☐ Device is unable to be retrieved        ☐ Other____________________________________

   ☐ Bleeding                                ☐ Other____________________________________

   ☐ Organ Perforation                       ☐ Other____________________________________


            VI. HOW OUTCOME(S) ATTRIBUTED TO DEVICE DETERMINED

                                                   by
  (e.g. imaging studies, surgery, doctor visits)
                                                   by

                                                   by

                                                   by

                                  VII. CURRENT COMPLAINTS

  Describe all injuries and physical complaints you attribute to the device:




                                 VIII. MEDICAL BACKGROUND

     1. Provide your current: Age             Height               Weight
     2. Provide your: Age            Weight                (approximate, if unknown) at the
        time the Cook Inferior Vena Cava Filter was implanted in you.




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     3. In chronological order, list any and all hospitalizations and outpatient procedures you had
        in the five (5) year period BEFORE implantation of the Cook Inferior Vena Cava
        Filter(s). Identify by name and address the doctor(s), hospital(s) or other healthcare
        provider(s) involved with each hospitalization or outpatient procedure; and provide the
        approximate date(s) for each:

     Approximate Date           Doctor or Healthcare Provider Involved (including address)




  [Attach additional sheets as necessary to provide the same information for any and all surgeries
  leading up to implantation of the Cook Inferior Vena Cava Filter(s)]

     4. Before the implantation of the Cook Inferior Vena Cava Filter(s), did you regularly
        exercise or participate in activities that required lifting or strenuous physical activity?

         ☐Yes ☐No

     5. In chronological order, list any and all hospitalizations and outpatient procedures you had
        AFTER implantation of the Cook Inferior Vena Cava Filter(s). Identify by name and
        address the doctor(s), hospital(s) or other healthcare provider(s) involved with each
        hospitalization or outpatient procedure, and provide the approximate date(s) for each:

     Approximate Date           Doctor or Healthcare Provider Involved (including address)




     6. To the extent not already provided in the charts above, provide the name, address, and
        telephone number of every doctor, hospital or other health care provider from which you
        have received medical advice and/or treatment in the past seven (7) years:




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     Name and Specialty                 Address               Approximate Dates/Years of Visits




     7. Since the date that the Cook Inferior Vena Cava Filter(s) was implanted, have you
        regularly exercised, or regularly participated in activities that required lifting, or regularly
        engaged in strenuous physical activity?

        ☐Yes ☐No

        Describe each activity which you contend has been limited or which you contend that you
        can no longer engage in because of receiving of your Cook Inferior Vena Cava Filter(s).




     8. Number of Deep Vein Thromboses before and after implant of your Cook IVC Filter:
        _______________________

     9. Number of Pulmonary Emboli before and after the implant of your Cook IVC filter:
        _______________________

     10. If you had any of the following conditions beginning five years before your IVC filter
         implant or after it was implanted, please provide the requested information.

              Condition           Date Range                Treating Doctor and/or Facility
      Lupus
      ☐Yes ☐No
      Crohn’s Disease
      ☐Yes ☐No
      Factor V Leiden
      ☐Yes ☐No
      Protein Deficiency
      ☐Yes ☐No
      Spinal fusion/back sx
      ☐Yes ☐No




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      Anti-thrombin deficiency
      ☐Yes ☐No
      Prothrombin mutation
      ☐Yes ☐No

     11. For the period beginning five (5) years before your IVC implant to the present date,
         describe all major health problems and surgeries you recall, other than those listed above.

       Approx. Date Range                        Health Problem or Surgery




     12. If you are seeking damages for emotional distress in this lawsuit, you must respond to
         this question:

        Have you experienced, been diagnosed with or received psychiatric or psychological
        treatment of any type, including therapy, for any mental health conditions including
        depression, anxiety or other emotional or psychiatric disorders during the three (3) years
        prior to the filing of this lawsuit through the present? ☐Yes ☐No

        If yes, specify condition, date of onset, medication/treatment, treating physician and
        current status of condition:




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     13. Do you now or have you ever smoked tobacco products? ☐Yes ☐No

        If yes: How long have/did you smoke?

     14. List each prescription medication you have taken for more than three (3) months at a
         time, beginning three (3) years prior to the implant to the present, please provide the
         following.

        Medication         Reason for Taking          Dates of Use     Pharmacy (with Address if
                                                                              Known)




  _____________________________________________________________________________
              IX. PRIOR CLAIM INFORMATION & FACT WITNESSES

     1. Have you filed a lawsuit or made a claim since the placement of the device, other than in
        the present suit, relating to any bodily injury? ☐Yes ☐No. If yes, specify:

        a. Court in which lawsuit/claim was filed or initiated:

        b. Case/Claim Number:

        c. Nature of Claim/Injury:

     2. Have you applied for Workers’ Compensation (WC), Social Security disability (SSI or
        SSD) benefits, or other State or Federal disability benefits since the placement of the
        device? ☐Yes ☐No. If yes, specify:

        a. Date (or year) of application:

        b. Type of benefits sought:

        c. Agency/Insurer from which you sought the benefits:

        d. The nature of the claimed injury/disability:




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          e. Whether the claim was accepted or denied:

  3.      Identify by name, address and relationship to you, all persons (other than your healthcare
          providers) who possess information concerning your injuries and/or current medical
          condition:

                  Name                       Address (if known)                Relationship to You




                                    X. DOCUMENT REQUESTS

  In addition to the requirements in Amended Case Management Order #4, Section 1.d., that each
  plaintiff shall provide the defendants with hard copies or electronic files of all medical records in
  their possession or in the possession of their attorneys or other representatives, including, but not
  limited to, records that support product identification, state whether you have any of the
  following documents in your possession or in the possession of your attorneys or other
  representatives. If you do, please provide a true and correct copy of any such documents with
  this completed Profile Sheet.

       1. If you were appointed by a Court to represent the plaintiff in this lawsuit, produce any
          documents demonstrating such appointment.
             Applies to me and: ☐the documents are attached OR ☐I have no documents OR
             ☐Does not apply to me

       2. If you represent the Estate of a deceased person in this lawsuit, produce a copy of the
          decedent’s death certificate and autopsy report (if applicable).
             Applies to me and: ☐the documents are attached OR ☐I have no documents OR
             ☐Does not apply to me

       3. Produce any Cook Inferior Vena Cava Filter product packaging, labeling, advertising, or
          any other product-related items.
            Applies to me and: ☐the documents are attached OR ☐I have no documents OR
             ☐Does not apply to me




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     4. Produce all documents concerning any communication between you and the Food and
        Drug Administration (FDA), or between you and any employee or agent of the Cook
        Group Defendants, regarding the Cook Inferior Vena Cava Filter(s) at issue, except those
        communications that are attorney/client or work product privileged or that are between
        your counsel in this case and Cook or Cook’s counsel.
          Applies to me and: ☐the documents are attached OR ☐I have no documents OR
          ☐Does not apply to me

     5. Produce all documents, correspondence or communication relating to the Cook Inferior
        Vena Cava Filter, which was exchanged between Cook Group Defendants, your
        healthcare providers or you, except those communications that are attorney/client or work
        product privileged or that are between your counsel in this case and Cook or Cook’s
        counsel.
           Applies to me and: ☐the documents are attached OR ☐I have no documents OR
           ☐Does not apply to me

     6. Produce all documents describing risks and/or benefits of Inferior Vena Cava Filters,
        which you received before your procedure, including but not limited to any risks and/or
        benefits associated with the Cook Inferior Vena Cava Filter(s)
          Applies to me and: ☐the documents are attached OR ☐I have no documents OR
          ☐ Does not apply to me

     7. Produce any and all documents reflecting the model number and lot number of the Cook
        Inferior Vena Cava Filter(s) you received.
           Applies to me and: ☐the documents are attached OR ☐I have no documents OR
           ☐ Does not apply to me

     8. If you underwent surgery or any other procedure to remove, in whole or in part, the Cook
        Inferior Vena Cava Filter(s), produce any and all documents, other than documents that
        may have been generated by expert witnesses retained by your counsel for litigation
        purposes, that relate to any evaluation of the Cook Inferior Vena Cava Filter(s) removed
        from you.
           Applies to me and: ☐the documents are attached OR ☐I have no documents OR
           ☐ Does not apply to me

     9. If you claim lost wages or lost earning capacity, produce copies of your Federal and State
        tax returns for the period beginning three years before you claim your wage loss began to
        the present date, redacting irrelevant information.
           Applies to me and: ☐the documents are attached OR ☐I have no documents OR
           ☐ Does not apply to me




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       10. All documents concerning payments on behalf of the injured party for medical treatment
           relating to the injuries claimed in this lawsuit, including, but not limited to any lien
           notices and documents which identify potential lien holders
              Applies to me and: ☐the documents are attached OR ☐I have no documents OR
              ☐ Does not apply to me



                                           AUTHORIZATIONS

             Provide ONE (1) SIGNED ORIGINAL copy of the records authorization form attached

  in Exhibit A. The form will authorize counsel for the Cook Group Companies to obtain those

  records identified within this Claimant Profile Form.


                                             VERIFICATION

             I, __________________________, declare under penalty of perjury subject to all

  applicable laws, that I have carefully reviewed the final copy of this Claimant Profile Form dated

  ______________________________________ and verified that all of the information provided

  is true and correct to the best of my knowledge, information and belief.




                                                               _____________________________
                                                               [Signature of Claimant]



                           VERIFICATION OF LOSS OF CONSORTIUM (if applicable)

             I, __________________________, declare under penalty of perjury subject to all

  applicable laws, that I have carefully reviewed the final copy of this Claimant Profile Form dated

  ________________________________________ and verified that all of the information

  provided is true and correct to the best of my knowledge, information and belief.



                                                               _____________________________
                                                               [Signature of Consortium Plaintiff]
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                                              139394
                           AUTHORIZATION TO DISCLOSE   MEDICAL INFORMATION

    To:
    I, the undersigned, hereby authorize and request the Custodian of the above-named entity to disclose
    to Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500 Indianapolis, IN 46204, any and
    all medical records, including those that may contain protected health information (PHI) regarding
    ______________________, whether created before or after the date of signature.

    This authorization specifically does not permit Faegre Drinker Biddle & Reath LLP to discuss any aspect of
    my medical care, medical history, treatment, diagnosis, prognosis, or any other circumstances
    revealed by or in the medical records with my medical providers, past or present, ex parte and without the
    presence of my attorney. Records requested may include, but are not limited to:
               a)     all medical records, physician's records, surgeon's records, pathology/cytology reports,
                      physicals and histories, laboratory reports, operating room records, discharge summaries,
                      progress notes, patient intake forms, consultations, prescriptions, nurses' notes, birth certificate
                      and other vital statistic records, communicable disease testing and treatment records,
                      correspondence, prescription records, medication records, orders for medications, therapists’
                      notes, social worker's records, insurance records, consent for treatment, statements of
                      account, itemized bills, invoices and any other papers relating to any examination, diagnosis,
                      treatment, periods of hospitalization, or stays of confinement, or documents containing
                      information regarding amendment of protected health information (PHI) in the medical
                      records, copies (NOT originals) of all x-rays, CT scans, MRI films, photographs, and any
                      other radiological, nuclear medicine, or radiation therapy films and of any corresponding
                      reports and requisition records, and any other written materials in its possession relating to any
                      and all medical diagnoses, medical examinations, medical and surgical treatments or
                      procedures. I expressly request that all covered entities under HIPAA identified above
                      disclose full and complete protected medical information. This authorization and release does
                      not allow                                                        to request or take possession of
                      pathology/cytology specimens, extracted mesh, pathology/cytology or hematology slides, wet
                      tissue or tissue blocks.

               b)     complete copies of all prescription profile records, prescription slips, medication records,
                      orders for medication, payment records, insurance claims forms correspondence and any other
                      records. I expressly request that all covered entities under HIPAA identified above disclose
                      full and complete protected medical information.

    A photocopy of this authorization shall be considered as effective and valid as the original, and this
    authorization will remain in effect until the earlier of: (i) the date of settlement or final disposition of
    __________________v. Cook Medical Inc., et al. or (ii) five (5) years after the date of signature of the
    undersigned below. The purpose of this authorization is for civil litigation.

                                                          NOTICE
•     The individual signing this authorization has the right to revoke this authorization at any time, provided
      the revocation is in writing to Faegre Drinker Biddle & Reath LLP except to the extent that the entity has
      already relied upon this Authorization to disclose protected health information (PHI).
•     The individual signing this authorization understands that the covered entity to whom this authorization is
      directed may not condition treatment, payment, enrollment or eligibility benefits on whether or not the
      individual signs the authorization.
•     The individual signing this authorization understands that protected health information (PHI) disclosed
      pursuant to this authorization may be subject to redisclosure by the recipients and that, in such case, the
      disclosed PHI no longer will be protected by federal privacy regulations.
•     The individual signing this authorization expressly authorizes the above-named entity to disclose HIV/AIDS
      records and information to Faegre Drinker Biddle & Reath LLP.
•     The individual signing this authorization understands information authorized for release may include records
      that may indicate the presence of a communicable disease.
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•     The individual signing this authorization understands
                                                        139395that she/he shall be entitled to receive a copy of all
      documents requested via this authorization within a reasonable period of time after such records are received
      by Faegre Drinker Biddle & Reath LLP.

    I have read this Authorization and understand that it will permit the entity identified above to disclose PHI to
    Faegre Drinker Biddle & Reath LLP.


           Name of Patient (Print)                              Signature    of    Patient    or    Individual

           Former/Alias/Maiden Name of Patient                  Date

           Patient’s Date of Birth                              Name of Patient Representative

           Patient’s Social Security Number                     Description of Authority

           Patient’s Address




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                             AUTHORIZATION AND CONSENT
                           TO RELEASE PSYCHOTHERAPY NOTE
 Name of Individual:
 Social Security Number:
 Date of Birth:
 Provider Name:




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                                          139397

TO:     All physicians, hospitals, clinics and institutions, pharmacists and other healthcare providers

        The Veteran's Administration and all Veteran's Administration hospitals, clinics, physicians and
        employees

        The Social Security Administration

        Open Records, Administrative Specialist, Department of Workers' Claims

        All employers or other persons, firms, corporations, schools and other educational institutions

         The undersigned individual herby authorizes each entity included in any of the above categories to
 furnish and disclose to Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis,
 IN 46204, and its authorized representatives, true and correct copies of all "psychotherapy notes", as such
 term is defined by the Health Insurance Portability and Accountability Act, 45 CFR §164.501. Under HIPAA,
 the term "psychotherapy notes" means notes recorded (in any medium) by a health care provider who is a
 mental health professional documenting or analyzing the contents of conversation during a private
 counseling session or a group, joint or family counseling session and that are separated from the rest of the
 individual's record. This authorization does not authorize Faegre Drinker Biddle & Reath LLP to engage in ex
 parte communication concerning same.

         •        This authorization provides for the disclosure of the above-named patient's protected health
                  information for purposes of the following litigation matter:                             v.
                  Cook Medical, Inc., et al.

         •        The undersigned individual is hereby notified and acknowledges that any health care provider or
                  health plan disclosing the above requested information may not condition treatment, payment,
                  enrollment or eligibility for benefits on whether the individual signs this authorization.

         •        The undersigned individual is hereby notified and acknowledges that he or she may revoke this
                  authorization by providing written notice to Faegre Drinker Biddle & Reath LLP and/or to one
                  or more entities listed in the above categories, except to the extent that any such entity has taken
                  action in reliance on this authorization.

         •        The undersigned is hereby notified and acknowledges that he or she is aware of the potential that
                  protected health information disclosed and furnished to the recipient pursuant to this
                  authorization is subject to redisclosure by the recipient for the purposes of this litigation in a
                  manner that will not be protected by the Standards for the Privacy of Individually Identifiable
                  Health Information contained in the HIPAA regulations (45 CFR §§164.500-164.534).

         •        The undersigned is hereby notified that he/she is aware that any and all protected health
                  information disclosed and ultimately furnished to Faegre Drinker Biddle & Reath LLP in
                  accordance with orders of the court pursuant to this authorization will be shared with any and all
                  co-defendants in the matter of                              v. Cook Medical, Inc., et al. and is subject
                  to redisclosure by the recipient for the purposes of this litigation in a manner that will not be
                  protected by the Standards for the Privacy of Individually Identifiable Health Information
                  contained in the HIPAA regulations (45 CFR §§164.500-164.534).

         •        A photocopy of this authorization shall be considered as effective and valid as the original, and
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                                                     139398
              this authorization will remain in effect until the earlier of: (i) the date of settlement or final
              disposition of                             v. Cook Medical, Inc., et al. or (ii) five (5) years after the
              date of signature of the undersigned.

 I have carefully read and understand the above and do hereby expressly and voluntarily authorize the
 disclosure of all of my above information to Faegre Drinker Biddle & Reath LLP and its authorized
 representatives, by any entities included in the categories listed above.

 Date:
                                               Signature of Individual or Individual's Representative
 Individual's Name and Address:

                                               Printed Name of Individual's Representative (If applicable)


                                               Relationship of Representative to Individual (If applicable)


                                               Description of Representative's authority to act for Individual (If
                                               applicable)

 This authorization is designed to be in compliance with the Health Insurance Portability and
 Accountability Act, and the regulations promulgated thereunder, 45 CFR Parts 160 and 164 (collectively,
 "HIPAA").




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                                    139399INSURANCE INFORMATION
                AUTHORIZATION TO DISCLOSE


  To:

  I, the undersigned, hereby authorize and request the above-named entity to disclose to
  Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis, IN 46204,
  any and all records containing insurance information, including those that may contain protected
  health information (PHI) regarding                                        , whether created before or
  after the date of signature. Records requested may include, but are not limited to:

        applications for insurance coverage and renewals; all insurance policies, certificates and
        benefit schedules regarding the insured's coverage, including supplemental coverage; health
        and physical examination records that were reviewed for underwriting purposes, and any
        statements, communications, correspondence, reports, questionnaires, and records submitted
        in connection with applications or renewals for insurance coverage, or claims; all physicians',
        hospital, dental reports, prescriptions, correspondence, test results, radiology reports and any
        other medical records that were submitted for claims review purposes; any claim record filed;
        records of any claim paid; records of all litigation; and any other records of any kind
        concerning or pertaining to the insured. I expressly request that all covered entities under
        HIPAA identified above disclose full and complete protected medical information. By
        signing this authorization, I expressly do not authorize Faegre Drinker Biddle & Reath to
        engage in any ex parte interview or oral communication about me or any information
        contained in the materials produced without the presence of my attorney.

  A photocopy of this authorization shall be considered as effective and valid as the original, and this
  authorization will remain in effect until the earlier of: (i) the date of settlement or final disposition
  of
                                 v. Cook Medical, Inc., et al. or (ii) five (5) years after the date of
  signature of the undersigned below. The purpose of this authorization is for civil litigation.

  NOTICE

  •     The individual signing this authorization has the right to revoke this authorization at any
        time, provided the revocation is in writing to Faegre Drinker Biddle & Reath LLP , except
        to the extent that the entity has already relied upon this Authorization to disclose protected
        health information (PHI).
  •     The individual signing this authorization understands that the covered entity to whom
        this authorization is directed may not condition treatment, payment, enrollment or
        eligibility benefits on whether or not the individual signs the authorization.
  •     The individual signing this authorization understands that protected health information
        (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the
        recipients and that, in such case, the disclosed PHI no longer will be protected by federal
        privacy regulations.
  •     The individual signing this authorization understands information authorized for release
        may include records that may indicate the presence of a communicable disease.
  •     The individual signing this authorization understands that she/he shall be entitled to
        receive a copy of all documents requested via this authorization within a reasonable period
        of time after such records are received by Faegre Drinker Biddle & Reath LLP.



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                                            139400
  I have read this Authorization and understand  that it will permit the entity identified above to
  disclose PHI to Faegre Drinker Biddle & Reath LLP.


  Name of Individual                               Signature of Individual or Individual Representative


  Former/Alias/Maiden Name of Individual           Date

  Individual’s Date of Birth                       Name of Individual Representative

  Individual’s Social Security Number              Description of Authority

  Individual’s Address




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   Case 1:14-ml-02570-RLY-TAB Document 24810-2 Filed 08/31/23 Page 32 of 70 PageID #:
                                       139401 MEDICAID INFORMATION
                   AUTHORIZATION TO DISCLOSE

 To:

 I, the undersigned, hereby authorize and request the above-named entity to disclose to the agents or designees
 of Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis, IN 46204, any and
 all records containing Medicaid information, including those that may contain protected health information
 (PHI) regarding                                        , whether created before or after the date of signature.
 This authorization should also be construed to permit agents or designees of Faegre Drinker Biddle & Reath
 LLP to copy, inspect and review any and all such records. Records requested may include, but are not
 limited to:

       all Medicaid records, including explanations of Medicaid benefit records and claims records; any
       statements, communications, pro reviews, denials, appeals, correspondence, reports,
       questionnaires or records submitted in connection with claims; all reports from physicians,
       hospitals, dental providers, prescriptions; correspondence, test results and any other medical
       records; records of claims paid to or on the behalf of                                          ;
       records of litigation and any other records of any kind. I expressly request that all covered
       entities under HIPAA identified above disclose full and complete protected medical information.

 A photocopy of this authorization shall be considered as effective and valid as the original, and this
 authorization will remain in effect until the earlier of: (i) the date of settlement or final disposition of
                                 v. Cook Medical, Inc., et al. or (ii) five (5) years after the date of signature of
 the undersigned below. The purpose of this authorization is for civil litigation. By signing this authorization, I
 expressly do not authorize any ex parte interview or oral communication about me or my medical history by
 Faegre Drinker Biddle & Reath LLP without the presence of my attorney.


                                                    NOTICE
       •   The individual signing this authorization has the right to revoke this authorization at any
           time, provided the revocation is in writing to Faegre Drinker Biddle & Reath LLP , except
           to the extent that the entity has already relied upon this Authorization to disclose protected
           health information (PHI).
       •   The individual signing this authorization understands that the covered entity to whom
           this authorization is directed may not condition treatment, payment, enrollment or
           eligibility benefits on whether or not the individual signs the authorization.
       •   The individual signing this authorization understands that protected health information
           (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the
           recipients and that, in such case, the disclosed PHI no longer will be protected by federal
           privacy regulations.
       •   The individual signing this authorization understands information authorized for release
           may include records that may indicate the presence of a communicable disease.
       •   The individual signing this authorization understands that they shall be entitled to
           receive a copy of all documents requested via this authorization within a reasonable period
           of time after such records are received by Faegre Drinker Biddle & Reath LLP.




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                                                   139402
 I have read this Authorization and understand that it will permit the entity identified above to disclose PHI
 to Faegre Drinker Biddle & Reath LLP.


       Name of Individual                                   Signature    of   Individual or     Individual

       Former/Alias/Maiden Name of Individual               Date

       Individual’s Date of Birth                           Name of Individual Representative

       Individual’s Social Security Number                  Description of Authority

       Individual’s Address




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                                    139403
               AUTHORIZATION TO DISCLOSE EMPLOYMENT INFORMATION

  To:


  I, the undersigned, hereby authorize and request the above-named entity to disclose to
  Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis, IN 46204, any
  and all records containing employment information, including those that may contain protected health
  information (PHI) regarding                                   , whether created before or after the date
  of signature. Records requested may include, but are not limited to:

        all applications for employment, resumes, records of all positions held, job descriptions of
        positions held, payroll records, W-2 forms and W-4 forms, performance evaluations and reports,
        statements and reports of fellow employees, attendance records, worker's compensation files; all
        hospital, physician, clinic, infirmary, nurse, dental records; test results, physical examination
        records and other medical records; any records pertaining to medical or disability claims, or work-
        related accidents including correspondence, accident reports, injury reports and incident reports;
        insurance claim forms, questionnaires and records of payments made; pension records, disability
        benefit records, and all records regarding participation in company-sponsored health, dental, life
        and disability insurance plans; material safety data sheets, chemical inventories, and environmental
        monitoring records and all other employee exposure records pertaining to all positions held; and
        any other records concerning employment with the above-named entity. I expressly request that
        all covered entities under HIPAA identified above disclose full and complete protected medical
        information. By signing this authorization, I expressly do not authorize any ex parte interview or
        oral communication about me or my employment history by Faegre Drinker Biddle & Reath LLP
        without the presence of my attorney.

  A photocopy of this authorization shall be considered as effective and valid as the original, and this
  authorization will remain in effect until the earlier of: (i) the date of settlement or final disposition of
                               v. Cook Medical, Inc., et al. or (ii) five (5) years after the date of signature
  of the undersigned below. A copy of this authorization may be used in place of and with the same force
  and effect as the original. The purpose of this authorization is for civil litigation.

  NOTICE
  • The individual signing this authorization has the right to revoke this authorization at any
    time, provided the revocation is in writing to Faegre Drinker Biddle & Reath LLP , except to
    the extent that the entity has already relied upon this Authorization to disclose protected health
    information (PHI).
  • The individual signing this authorization understands that the covered entity to whom this
    authorization is directed may not condition treatment, payment, enrollment or eligibility
    benefits on whether or not the individual signs the authorization.
  • The individual signing this authorization understands that protected health information
    (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the recipients
    and that, in such case, the disclosed PHI no longer will be protected by federal privacy
    regulations.
  • The individual signing this authorization understands information authorized for release may
    include records that may indicate the presence of a communicable disease.
  • The individual signing this authorization understands that they shall be entitled to
    receive a copy of all documents requested via this authorization within a reasonable period of
    time after such records are received by Faegre Drinker Biddle & Reath LLP.


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  I have read this Authorization and understand139404
                                                that it will permit the entity identified above to
  disclose PHI to Faegre Drinker Biddle & Reath LLP.




  Name of Employee                                 Signature of Employee or Employee Representative


  Former/Alias/Maiden Name of Employee             Date

  Employee’s Date of Birth                         Name of Employee Representative

  Employee’s Social Security Number                Description of Authority

  Employee’s Address




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   Case 1:14-ml-02570-RLY-TAB Document 24810-2 Filed 08/31/23 Page 36 of 70 PageID #:
              AUTHORIZATION TO DISCLOSE139405
                                         WORKERS' COMPENSATION INFORMATION


 To:


 I, the undersigned, hereby authorize and request the above-named entity to disclose to
 Faegre Drinker Biddle & Reath LLP, 300 N. Meridian Street, Suite 2500, Indianapolis, IN 46204, any and all records
 containing Workers’ Compensation information, including those that may contain protected health information (PHI)
 regarding                      , whether created before or after the date of signature. Records requested may include,
 but are not limited to:

        all workers' compensation claims, including claim petitions, judgments, findings, notices of hearings, hearing records, transcripts,
        decisions and orders; all depositions and reports of witnesses and expert witnesses; employer's accident reports; all other accident,
        injury, or incident reports; all medical records; records of compensation payment made; investigatory reports and records;
        applications for employment; records of all positions held; job descriptions of any positions held; salary records; performance
        evaluations and reports; statements and comments of fellow employees; attendance records; all physicians', hospital, medical,
        health reports; physical examinations; records relating to health or disability insurance claims, including correspondence, reports,
        claim forms, questionnaires, records of payments made to physicians, hospitals, and health institutions or professionals;
        statements of account, itemized bills or invoices; and any other records relating to the above-named individual. Copies (NOT
        originals) of all x-rays, CT scans, MRI films, photographs, and any other radiological, nuclear medicine, or radiation therapy
        films and of any corresponding reports. I expressly request that all covered entities under HIPAA identified above disclose full
        and complete protected medical information.

 A photocopy of this authorization shall be considered as effective and valid as the original, and this authorization will
 remain in effect until the earlier of: (i) the date of settlement or final disposition of
                           v. Cook Medical, Inc., et al. or (ii) five (5) years after the date of signature of the
 undersigned below. The purpose of this authorization is for civil litigation. This authorization is for the release of
 records only and does not allow Faegre Drinker Biddle & Reath to engage in ex parte communications regarding the
 subject matter of this release and without the presence of my attorney.

                                                                    NOTICE

       •   The individual signing this authorization has the right to revoke this authorization at any time,
           provided the revocation is in writing to Faegre Drinker Biddle & Reath LLP, except to the extent
           that the entity has already relied upon this Authorization to disclose protected health information
           (PHI).
       •   The individual signing this authorization understands that the covered entity to whom this
           authorization is directed may not condition treatment, payment, enrollment or eligibility benefits on
           whether or not the individual signs the authorization.
       •   The individual signing this authorization understands that protected health information (PHI)
           disclosed pursuant to this authorization may be subject to redisclosure by the recipients and that, in
           such case, the disclosed PHI no longer will be protected by federal privacy regulations.
       •   The individual signing this authorization understands information authorized for release may
           include records that may indicate the presence of a communicable disease.
       •   The individual signing this authorization understands that they shall be entitled to receive a
           copy of all documents requested via this authorization within a reasonable period of time after such
           records are received by Faegre Drinker Biddle & Reath LLP.




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                                     139406
 I have read this Authorization and understand that it will permit the entity identified above to disclose PHI to
  Faegre Drinker Biddle & Reath LLP.


     Name of Individual                                        Signature of Individual or Individual Representative


     Former/Alias/Maiden Name of Individual                    Date

     Individual’s Date of Birth                                Name of Individual Representative

     Individual’s Social Security Number                       Description of Authority

     Individual’s Address




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                                                                                                               Form Approved
    Social Security Administration                                                                             OMB No. 0960-0566
    Consent for Release of Information
    SSA will not honor this form unless all required fields have been completed (*signifies required field).

    TO: Social Security Administration



    *Name                                              * Date of Birth                           *Social Security Number


    I authorize the Social Security Administration to release information or records about me to:


     *NAME                                                    *ADDRESS

    Faegre Drinker Biddle & Reath LLP                           300 N. Meridian Street , Suite 2500,
                                                                Indianapolis, IN 46204

    *I want this information released because:                                civil litigation
    There may be a charge for releasing information.



    *Please release the following information selected from the list below:
    You must check at least one bo x. Also, SSA will not disclose records unless applicable date ranges are included.

         □Social Security Number
         □ Current monthly Social Security benefit amount
         □ Current monthly S upplemental Security Income payment amount
         □ My benefit/payment amounts from                to
         □ My Medicare entitlement from                                  to
         □ Medical records from my claims folder(s) from                                         to
              If you want SSA to release a minor's medical records, do not use this form but instead contact your local
              SA office.

         □ Complete medical records from my claims folder(s)
         □ Other record(s) from my file (e.g. applications, questionnaires, consultative
            examination reports, determinations, etc.)


   I am the individual to whom the requested information/record applies, or the parent or legal
   guardian of a minor, or the legal guardian of a legally incompetent adult. I declare under penalty of
   perjury in accordance with 28 C.F.R. § 16.41(d)(2004) that I have examined all the information
   on this form, and on any accompanying statements or forms, and i t i s true and correct to the best
   of my knowledge. I understand that anyone who knowingly or willfully seeking or obtaining
   access to records about another person under false pretenses is punishable by a fine of up to $5,000.
   I also understand that any applicable fees must be paid by me.
    *Signature:                                                                       *Date:


    Relationship (if not the individual):                                             Daytime Phone:

    Form SSA-3288 (07-2010) EF (07-2010)




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  Instructions for Using this Form
  Complete this form only if you want us to give information or records about you, a minor, or a legally incompetent adult, to an individual
  or group (for example, a doctor or an insurance company). If you are the natural or adoptive parent or legal guardian, acting on behalf of a
  minor, you may complete this form to release only the minor's non-medical records. If you are requesting information for a purpose not
  directly related to the administration of any program under the Social Security Act, a fee may be charged.
  NOTE: Do not use this form to:
      Request us to release the medical records of a minor. Instead, contact your local office by calling 1-800-772-1213 (TTY-1-
      800-325-0778). or
      Request information about your earnings or employment history. Instead, complete form SSA-7050-F4 at any Social
      Security office or online at www.ssa.gov/online/ssa-7050.pdf.

  How to Complete this Form
  We will not honor this form unless all required fields are completed. An asterisk ( •) indicates a required field. Also, we will not honor
  blanket requests for "all records" or the "entire file." You must specify the information you are requesting and you must sign and date
  this form.
      Fill in your name, date of birth, and social security number or the name, date of birth, and social security number of the person to
      whom the information applies.
      Fill in the name and address of the individual (or organization) to whom you want us to release your information. Indicate
      the reason you are requesting us to disclose the information.
      Check the box(es) next to the type(s) of information you want us to release including the date ranges, if applicable.
      You, the parent or legal guardian acting on behalf of a minor, or the legal guardian of a legally incompetent adult, must sign and
      date this form and provide a daytime phone number where you can be reached.
       If you are not the person whose information is requested, state your relationship to that person. We may require proof of
       relationship.
                                                        PRIVACY ACT STATEMENT
 Section 205(a) of the Social Security Act, as amended, authorizes us to collect the information requested on this form. The information
 you provide will be used to respond to your request for SSA records information or process your request when we release your records to
 a third party. You do not have to provide the requested information. Your response is voluntary; however, we cannot honor your request
 to release information or records about you to another person or organization without your consent.


 We rarely use the information provided on this form for any purpose other than to respond to requests for SSA records information.
 However, in accordance with 5 U.S.C. § 552a(b) of the Privacy Act, we may disclose the information provided on this form in accordance
 with approved routine uses, which include but are not limited to the following: 1. To enable an agency or third party to assist Social
 Security in establishing rights to Social Security benefits and/or coverage; 2. To make determinations for eligibility in similar health and
 income maintenance programs at the Federal, State, and local level; 3. To comply with Federal laws requiring the disclosure of the
 information from our records; and, 4. To facilitate statistical research, audit, or investigative activities necessary to assure the integrity of
 SSA programs.


 We may also use the information you provide when we match records by computer. Computer matching programs compare our records
 with those of other Federal, State, or local government agencies. Information from these matching programs can be used to establish or
 verify a person's eligibility for Federally-funded or administered benefit programs and for repayment of payments or delinquent debts under
 these programs.

 Additional information regarding this form, routine uses of information, and other Social Security programs are available from our
 Internet website at www.socialsecurity.gov or at your local Social Security office.
                                               PAPERWORK REDUCTION ACT STATEMENT

  This information collection meets the requirements of 44 U.S.C. § 3507, as amended by section 2 of the Paperwork Reduction Act of
  1995. You do not need to answer these questions unless we display a valid Office of Management and Budget control number. We
  estimate that it will take about 3 minutes to read the instructions, gather the facts, and answer the questions. SEND OR BRING THE
  COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You can find your local Social Security office through SSA's
  website at www.socialsecurity.gov. Offices are also listed under U.S. Government agencies in your telephone directory or you may call
  1-800-772-1213 (TTY 1-800-325-0778). You may send comments on
  our time estimate above to: SSA, 6401 Security Blvd., Baltimore, MD 21235-6401. Send onlv comments relating to our time estimate to
  this address, not the completed form.

  Form SSA-3288 (07-20 1 0) EF (07-2010) Destroy Prior Editions




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                                                                                       Medicare
                                                      Beneficiary Services:1-800-MEDICARE (1-800-633-4227)
                                                                                   TTY! IDD:1-877-486-2048


 This form is used to advise Medicare of the person or persons you have chosen to have access to your
 personal health information.

 Where to Return Your Completed Authorization Forms:
 After you complete and sign the authorization form, return it to the address below:

 Medicare BCC, Written Authorization Dept.
 PO Box 1270
 Lawrence, KS 66044

 For New York Medicare Beneficiaries ONLY
 The New York State Public Health Law protects information that reasonably could identify someone as
 having HlV symptoms or infection, and information regarding a person's contacts. Because of New York's
 laws protecting the privacy of information related to alcohol and drug abuse, mental health treatment, and
 HIV, there are special instructions for how you, as a New York resident, should complete this form.

     • For question 2A, check the box for Limited Information, even if you want to authorize Medicare
       to release any and all of your personal health information.

     • Then proceed to question 2B.




                                     Medicare BCC, Written Authorization Dept..
                                                   PO Box 1270
                                               Lawrence, KS 66044




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 Instructions for Completing Section 2B of the Authorization Form:
 Please select one of the following options.

     • Option 1 To include all information, in the space provided, write: "all information, including
       information about alcohol and drug abuse, mental health treatment, and HIV". Proceed with the rest
       ofthe form.

     • Option 2 To exclude the information listed above, write "Exclude information about alcohol and
       drug abuse, mental health treatment and HIV" in the space provided. You may also check any of the
       remaining boxes and include any additional limitations in the space provided. For example, you
       could write "payment information". Then proceed with the rest of the form.

 Ifyou have any questions or need additional assistance, please feel free to call us at 1-800-MEDICARE
 (1-800-633-4227). TTY users should call1-877-486-2048.

 Sincerely,



 1-800-MEDICARE
 Customer Service Representative


 Encl.




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                     Information to Help You Fill Out the
    "1-800-MEDICARE Authorization to Disclose Personal Health Information" Form

 By law, Medicare must have your written permission (an "authorization") to use or give out
 your personal medical information for any purpose that isn't set out in the privacy notice
 contained in the Medicare & You handbook. You may take back ("revoke") your written
 permission at any time, except if Medicare has already acted based on your permission.

 If you want 1-800-MEDICARE to give your personal health information to someone other than
 you, you need to let Medicare know in writing.

 If you are requesting personal health information for a deceased beneficiary, please include a
 copy of the legal documentation which indicates your authority to make a request for
 information. (For example: Executor/Executrix papers, next of kin attested by court documents
 with a court stamp and a judge's signature, a Letter of Testamentary or Administration with a
 court stamp and judge's signature, or personal representative papers with a court stamp and
 judge's signature.) Also, please explain your relationship to the beneficiary.

 Please use this step by step instruction sheet when completing your "1-800-MEDICARE
 Authorization to Disclose Personal Health Information" Form. Be sure to complete all sections
 of the form to ensure timely processing.

 1. Print the name of the person with Medicare.

     Print the Medicare number exactly as it is shown on the red, white, and blue Medicare
     card, including any letters (for example, 123456789A).

     Print the birthday in month, day, and year (mm/dd/yyyy) of the person with Medicare.

 2. This section tells Medicare what personal health information to give out. Please check a
    box in 2a to indicate how much information Medicare can disclose. If you only want
    Medicare to give out limited information (for example, Medicare eligibility), also check
    the box(es) in 2b that apply to the type of information you want Medicare to give out.

 3. This section tells Medicare when to start and/or when to stop giving out your personal
    health information. Check the box that applies and fill in dates, if necessary.

 4. Medicare will give your personal health information to the person(s) or organization(s) you
    fill in here. You may fill in more than one person or organization. If you designate an
    organization, you must also identify one or more individuals in that organization to whom
    Medicare may disclose your personal health information.




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 5. The person with Medicare or personal representative must sign their name, fill in the date,
    and provide the phone number and address of the person with Medicare.

    If you are a personal representative of the person with Medicare, check the box, provide
    your address and phone number, and attach a copy of the paperwork that shows you can
    act for that person (for example, Power of Attorney).

 6. Send your completed, signed authorization to Medicare at the address shown here on your
    authorization form.

 7. If you change your mind and don't want Medicare to give out your personal health
    information, write to the address shown under number six on the authorization form and
    tell Medicare. Your letter will revoke your authorization and Medicare will no longer
    give out your personal health information (except for the personal health information
    Medicare has already given out based on your permission).

You should make a copy of your signed authorization for your records before mailing it to
Medicare.
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          1-800-MEDICARE Authorization to Disclose Personal Health Information
  Use this form if you want 1-800-MEDICARE to give your personal health information to
  someone other than you.


 1. Print Name                                      Medicare Number                         Date of Birth
    (First and last name of the person with Medicare) (Exactly as shown on the Medicare Card) (mm/dd/yyyy)


 2. Medicare will only disclose the personal health information you want disclosed.

   2A: Check only one box below to tell Medicare the specific personal health
   information you want disclosed:

         Limited Information (go to question 2b)

         Any Information (go to question 3)


    2B: Complete only if you selected "limited information". Check all that apply:

         Information about your Medicare eligibility

         Information about your Medicare claims

         Information about plan enrollment (e.g. drug or MA Plan)

         Information about premium payments

         Other s pecific information (please write below; for example, payment information)




 3. Check only one box below indicating how long Medicare can use this authorization
    to disclose your personal health information (subject to applicable law-for example,
    your State may limit how long Medicare may give out your personal health information):

     Disclose my personal health information indefinitely

     Disclose my personal health information for a specified period only
       beginning: (mm/dd/yyyy)                            and ending: (mm/dd/yyyy)
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4. Fill in the name and address of the person(s) or organization(s) to whom you want
   Medicare to disclose your personal health information. Please provide the specific
   name of the person(s) for any organization you list below:
      1. Name:       Faegre Drinker Biddle & Reath LLP

        Address:     300 N. Meridian Street, Suite 2500
                     Indianapolis, IN 46204

      2. Name:

        Address:


      3. Name:

        Address:


 5.
       I authorize 1-800-MEDICARE to disclose my personal health information listed
       above to the person(s) or organization(s) I have named on this form. I
       understand that my personal health information may be re-disclosed by the
       person(s) or organization(s) and may no longer be protected by law.


         Signature                            Telephone Number               Date (mm/dd/yyyy)

        Print the address of the person with Medicare (Street Address, City, State, and ZIP)




        D Check here if you are signing as a personal representative and complete below.
           Please attach the appropriate documentation (for example, Power of Attorney).
           This only applies if someone other than the person with Medicare signed above.
        Print the Personal Representative's Address (Street Address, City, State, and ZIP)




         Telephone Number of Personal Representative:
                                                           -------------------------
         Personal Representative's Relationship to the Beneficiary:
                                                                        -----------------
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 6. Send the completed, signed authorization to:
                            Medicare BCC, Written Authorization Dept.
                                         PO Box 1270
                                      Lawrence, KS 66044

7. Note:

    You have the right to take back ("revoke") your authorization at any time, in writing,
    except to the extent that Medicare has already acted based on your permission. If you
    would like to revoke your authorization, send a written request to the address shown
    above.

    Your authorization or refusal to authorize disclosure of your personal health
    information will have no effect on your enrollment, eligibility for benefits, or the
    amount Medicare pays for the health services you receive.




 According to the Paperwork Reduction Act of 1995, no persons are required to respond to a
 collection of information unless it displays a valid OMB control number. The valid OMB
 control number for this information collection is 0938-0930. The time required to complete
 this information collection is estimated to average 15 minutes per response, including the
 time to review instructions, search existing data resources, gather the data needed, and
 complete and review the information collection. If you have comments concerning the
 accuracy of the time estimate(s) or suggestions for improving this form, please write to:
 CMS, 7500 Security Boulevard, Attn: PRA Reports Clearance Officer, Mail Stop C4-26-05,
 Baltimore, Maryland 21244-1850.




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                                      Categorization Form



  A.    Plaintiff’s Name:                     __________________________________________

  B.    Plaintiff’s Case Number:              _________________________________________

  C.    Plaintiff’s Counsel (Lead Firm Name): ________________________________________

  D.    Categorization (check each that applies and briefly describe):

        1. Successful First Removal Without Complication or Physical Injury Cases: “Cases
           where Plaintiffs’ profile sheet and further follow-up shows that the Gunter Tulip or
           Celect IVC filter was successfully removed on the first, routine, percutaneous retrieval
           attempt and no physical symptom or filter complication was alleged during the time
           the filter was in place or in connection with the retrieval process.”

           Check here for Category 1:____

        2. Cases Alleging Mental Distress and Embedment: “Cases where only non-physical
           injuries, such as worry, stress, or fear of future injury, have been alleged.”

           Check here for Category 2:____

           Briefly describe claimed complication/outcome/injury:_________________________

        3. Stenosis of the IVC and Anticoagulation Cases: “(a) Cases where the plaintiff has
           alleged scarring or stenosis of the IVC caused by the Cook filter; and (b) Cases where
           the plaintiff has alleged a need for [anti]coagulation on a permanent or long term basis
           because of an unretrieved or irretrievable filter.”

           Check here for Category 3:____

           Briefly describe claimed complication/outcome/injury:_________________________

        4. Embedded and High Risk Cases: “Cases where the Plaintiff has been advised that the
           Cook IVC filter is embedded, cannot be retrieved, or that the risk of retrieval outweighs
           the benefits of retrieval.”

           Check here for Category 4:____

           Briefly describe claimed complication/outcome/injury:_________________________




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             5. Failed Retrieval and Complicated Retrieval Cases1: “(a) Cases where the plaintiff has
                undergone one or more failed retrieval procedures; and (b) Cases where Plaintiff’s
                Filter was retrieved but required the use of a non-routine, complicated retrieval
                method.”

                 Check here for Category 5:____

                 Briefly describe claimed complication/outcome/injury:_________________________

             6. Non-Symptomatic Injury Cases: “Cases where the Plaintiff alleges non-symptomatic
                filter movement, migration, penetration, perforation, thrombosis, occlusion, or the
                presence of a clot in the filter that has not produced physical symptoms or
                complications.”

                 Check here for Category 6:____

                 Briefly describe claimed complication/outcome/injury:_________________________

             7. Symptomatic Injury Cases: “Cases where the Plaintiff alleges medical symptoms,
                conditions, or complications caused by one or more of the following conditions”

                 Check here for Category 7:____. Circle all sub-categories that apply below:

                 (a) IVC thrombotic occlusion – consisting of an occluding thrombus in the IVC after
                     filter insertion (documented by imaging or autopsy);

                 Briefly describe claim of symptomatic injury:
                 ____________________________________________________________________

                 (b) filter embolization – consisting of post-deployment movement of the filter to a
                     distant anatomic site;

                 Briefly describe claim of symptomatic injury:
                 ____________________________________________________________________

                 (c) filter fracture – consisting of any loss of a filter’s structural integrity documented
                     by imaging or autopsy;

                 Briefly describe claim of symptomatic injury:
                 _____________________________________________________________________

                 (d) filter migration – consisting of a change in filter position of more than 2 cm (when
                     compared to its deployed position) and as documented by imaging; Briefly describe
                     claim of symptomatic injury:


  1
      Plaintiffs that have undergone open removal surgery shall categorize as Category No. 7.

                                                             3
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           Briefly describe claim of symptomatic injury:________________________________

        (e) penetration or perforation – consisting of a filter strut or anchor extending 3 or more
            mm outside the wall of the IVC as demonstrated on imaging;

        Briefly describe claim of symptomatic injury:___________________________________

        (f) recurrent pulmonary embolism (PE) – consisting of PE that occurs after filter
            placement is documented by pulmonary arteriography, cross sectional imaging, lung
            scan, or autopsy;

               Briefly describe claim of symptomatic injury:_____________________________

        (g) DVT or other blood clot caused by filter;

               Briefly describe claim of symptomatic injury:_____________________________

        (h) infection;

               Briefly describe claim of symptomatic injury:_____________________________

        (i) bleeding;

               Briefly describe claim of symptomatic injury:_____________________________

        (j) death; and

               Briefly describe claim of symptomatic injury:_____________________________

        (k) open-removal and/or open heart surgery- any case where a plaintiff has had an open
            surgical procedure, including open heart surgery, to remove his or her IVC filter.

               Briefly describe claim of symptomatic injury:_____________________________

  E.    Certification: The undersigned counsel affirms that the categorization is based on a review

        of the available medical records including imaging records and reports. The submission of

        the specific medical record(s) attached, and submission of this form, are counsel’s

        certification that the outcome, complication, or injury represented in Section D is the proper

        categorization for Plaintiff’s case to the best of counsel’s knowledge and belief.




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  Plaintiff’s Counsel Name:          __________________________________

  Plaintiff’s Counsel’s Firm:        __________________________________

  Plaintiff’s Counsel’s Signature:   __________________________________




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   In Re: COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                        Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                         MDL No. 2570

   [Plaintiff Name, Case Number]


                  AMOUNT IN CONTROVERSY CERTIFICATION FORM

  Plaintiff’s Name:                     ________________________________________________

  Plaintiff’s Case Number:              ________________________________________________

  Plaintiff’s Case Categorization:     ________________________________________________

         Certification: The undersigned counsel has (1) reviewed Plaintiff’s case, including all

  available medical records, billing records, and imaging records and reports; (2) reviewed Case

  Management Order No. 32 and the Circuit Court’s opinion in Sykes v. Cook Inc., 72 F.4th 195 (7th

  Cir. 2023); and (3) discussed this case and the requirement to establish the $75,000 amount-in-

  controversy with Plaintiff. Based on that review and discussion with Plaintiff, the undersigned

  counsel makes the following certifications regarding Plaintiff’s case:

  Question 1:
  Upon review, counsel has a good-faith basis to assert the damages in Plaintiff’s action exceed
  $75,000, exclusive of interests and costs: _____Yes ______ No

  Question 2(a): If Yes:

  The medical and other evidence relied on to make this certification has been produced to the Cook
  Defendants or is being produced with this Certification Form. _____Yes ______ No

  Question 2(b): If No:

  Plaintiff’s counsel has submitted contemporaneously with this Certification a signed Stipulation
  of Dismissal for voluntary dismissal using the form provided as Exhibit B to CMO-32. _____Yes
  ______ No
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         The undersigned counsel declares under the penalty of perjury that the foregoing is true

  and correct.

         Plaintiff’s Counsel Name:           __________________________________

         Plaintiff’s Counsel’s Firm:         __________________________________

         Plaintiff’s Counsel’s Signature:    __________________________________




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